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                            THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Civil Action No.: 22:cv-581 CNS-NRN

Colorado Montana Wyoming
State Area Conference of the NAACP,
League of Women Voters of Colorado, and
Mi Familia Vota,
                   Plaintiff(s)

 v.

United States Election Integrity Plan, Shawn Smith,
Ashley Epp, and Holly Kasun,

                   Defendant(s).



                                         AMENDED FINAL
                                         PRETRIAL ORDER


                                  1. DATE AND APPEARANCES

        The parties, by and through their undersigned counsel, submit the following

Proposed Final Pretrial Order on this 5th day of May, 2023 in advance of the Pretrial

Conference Scheduled for Friday, May 12th at 8:30am.


                                        2. JURISDICTION

             This Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

 and 1343 because this action arises under Section 11(b) of the Voting Rights Acts of 1965,

 52 U.S.C. § 1307(b) and the Ku Klux Klan Act, 42 U.S.C. § 1985. This Court has the

 authority to issue declaratory and injunctive relief under 28 U.S.C. §§ 2201 and 2202.

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                                3. CLAIMS AND DEFENSES

        Plaintiffs

             Plaintiffs Colorado Montana Wyoming State Area Conference of the NAACP

(“NAACP Colorado”), League of Women Voters of Colorado (“LWVCO”), and Mi Familia

Vota (“MFV”) (collectively, “Plaintiffs”) brought this action for damages and injunctive relief

against Defendants United States Election Integrity Plan (“USEIP”) and three of its founding

members—Shawn Smith, Ashley Epp, and Holly Kasun—alleging that Defendants have

intimidated or attempted to intimidate voters in violation of the Section 11(b) of the Voting

Rights Act of 1965, 52 U.S.C. § 1307(b), and the Ku Klux Klan Act, 42 U.S.C. § 1985.

Defendant USEIP was dismissed from this action on the grounds it is an unincorporated

association and cannot be sued. (See Doc. 84). The Court, however, held that the claims

against Defendants Shawn Smith, Ashley Epp, and Holly Kasun (the “Individual

Defendants”) could proceed. (See id.)

             Plaintiffs allege, and the evidence presented to date has borne out, that the

Individual Defendants—both individually and by and through USEIP—have violated both

the Voting Rights Act and Ku Klux Klan Act by engaging in a coordinated campaign of voter

intimidation and harassment. More specifically, Plaintiffs have presented and will present

evidence at trial that the Individual Defendants have made threatening and intimidating

public statements, such as Defendant Smith’s public exclamations that anyone involved in

election fraud “deserves to hang,” and have coordinated USEIP’s door-to-door canvassing

efforts in attempt to and in a manner that, in fact, intimidated Colorado Voters. In the course

of discovery, Plaintiffs uncovered evidence demonstrating that USEIP and its members


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knocked on over 9,000 doors across Colorado and, in doing so, carried and potentially

brandished firearms, took photographs of voters’ home, and represented or implied to

voters that they were associated with the government. The Individual Defendants were

each intimately involved in coordination efforts for USEIP.

             Plaintiffs seek an Order from the Court: (a) declaring that the door-to-door voter

intimidation campaign organized by the Individual Defendants constitutes unlawful voter

intimidation in violation of Section 11(b) of the Voting Rights Act and the Ku Klux Klan Act;

(b) ordering the Individual Defendants to cease and desist from coordinating and organizing

visits to voters homes in order to questions voters or household members about mail-in

ballots, alleged voters fraud, or otherwise intimidate voters from voting (including by mail);

(c) ordering the Individual Defendants to cease and desist from taking photographs of

voters’ residences or vehicles, instructing or encouraging anyone to take photographs of

voters’ residences or vehicles, and maintaining databases of voters’ residences or their

vehicles, and to submit an affidavit to the Court attesting to their deletion of the same; (d)

ordering the Individual Defendants to cease and desist from instructing or encouraging

anyone to carry weapons during interactions with voters; and (e) ordering the Individual

Defendants not to engage in other actions that threaten voters for having voters in past

election or intimidate voters from voting in future elections. Plaintiffs also seek an award of

their attorneys’ fees and costs.

        Defendants

             Defendants deny any liability for the factual scenario that led to the filing of this

 case and further deny that they have intimidated, coerced, or threatened any Colorado

 voter as alleged by Plaintiffs. To carry their burden on counts 1 and 2 under 52 U.S.C. §
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 10307(b), Plaintiffs must prove that Defendants acted or attempted to intimidate, threaten

 or coerce a person for voting or attempting to vote. To carry their burden on count 3 under

 42 U.S.C. § 1985(3), Plaintiffs must prove that Defendants (1) conspired, (2) the purpose

 of which was to force, intimidate, or threaten, (3) an individual legally entitled to vote who

 is engaging in a lawful activity related to voting in federal elections. Plaintiffs are unable

 to meet their burden for any of their claims. Plaintiffs have not identified a single Colorado

 voter, much less a member of the Plaintiff organizations, who claims that the Defendants

 intimidated, threatened, or coerced them in relation to a voting related activity. Likewise,

 Plaintiffs cannot demonstrate that Defendants conspired with the purpose of forcing,

 intimidating, or threatening another person engaged in voting related activities.

             Through discovery, Plaintiffs were unable to present a single documented

 complaint identifying Defendants Shawn Smith, Ashley Epp, or Holly Kasun as a

 canvasser, or any allegations that these individual Defendants intimidated or threatened

 a voter. Furthermore, Defendant Holly Kasun did not participate in USEIP canvassing

 which Plaintiffs allege gives rise to the factual allegations in their Complaint. Likewise,

 Plaintiffs have not produced evidence that a voter has come into personal contact with

 the individual Defendants, nor have Plaintiffs identified the Defendants as canvassers in

 the county where their sole witness, Yvette Roberts, resides.

             Defendants deny that through USEIP canvassing efforts, Colorado voters were

 intimidated, threatened, or coerced. Defendants further deny that they attempted to

 intimidate, threaten or coerce voters. Rather, Defendants received overwhelming positive

 feedback from any voter contacted during the canvassing efforts. Further, Defendants

 will demonstrate that all contact with Colorado voters complied with Colorado and Federal
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 laws.

             Plaintiffs’ description of Defendant Shawn Smith’s public statement that “anyone

 involved in election fraud deserves to hang” is taken out of context and misrepresents the

 nature of his statement. The statement upon which Plaintiff relies has been taken out of

 context because it was abbreviated, and when considered in full, does not evidence an

 intent to intimidate, or to coordinate or conspire with others to deny the vote to anyone;

 nor when read in full would the statement have the effect of intimidating a voter.

             Defendants further deny that they brandished weapons during canvassing, and

 Plaintiffs have produced no evidence to support these claims. Defendants likewise deny

 that they identified themselves or insinuated that they were associated with any

 governmental entity. Rather, Defendants’ own training materials specifically caution

 against a volunteer canvasser misidentifying themselves in any manner.

             Finally, Plaintiffs impute liability to Defendants for the actions of third parties who

 are not parties to this lawsuit. Plaintiffs arrive at the conclusion that based upon the

 individual Defendants’ coordination of canvassing, alleging that voters were intimidated

 or threatened by other USEIP volunteers. Plaintiffs cannot show that Defendants

 condoned, intended, or encouraged volunteers to engage in unlawful voter intimidation.

 In fact, Defendants have, and will, demonstrate that they defined, planned, and

 conducted their canvassing activities for Constitutionally protected purposes, in a

 courteous and neighborly manner. Defendants took all reasonable steps to ensure that

 the canvassing efforts through USEIP volunteers did not intimidate, threaten, or coerce

 voters. Likewise, to the extent Plaintiffs attempt to impute liability to the individual

 Defendants for the actions of third parties, “the doctrine of vicarious liability or respondeat
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 superior has been ruled out in cases arising under the Federal Civil Rights statutes.”

 Draeger v. Grand Central, Inc., 507 F.2d 142, 145 (10th Cir. 1974).

             In addition, Defendants affirmatively state that (1) Plaintiffs have failed to state a

 claim upon which relief may be granted; (2) Plaintiffs lack standing to sue on behalf of

 their members, none of whom have been identified as claiming voter intimidation; (3)

 Plaintiffs suffered no damage as a result of any of the alleged actions of Defendants; (4)

 Plaintiffs’ claims are barred to the extent that they violate Defendants’ Constitutional

 rights; and (5) Plaintiffs’ claims are barred because any alleged injury to Plaintiffs is the

 proximate cause of the acts or omission of independent third parties over which

 Defendants exercised no control.


                                         4. STIPULATIONS

    a. The parties stipulate to the following facts:

               1) USEIP is an unincorporated organization and has been dismissed from this

                   case.

               2) Defendant Shawn Smith is a Colorado resident and a member of USEIP.

               3) Defendant Ashley Epp is a Colorado resident and a co-founder and member

                   of USEIP.

               4) Defendant Holly Kasun is a Colorado resident and a co-founder and

                   member of USEIP.

               5) USEIP carried out a campaign to go door-to-door to the homes of Colorado

                   voters.

               6) USEIP volunteers visited more than 9,000 houses during its door-to-door


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                   campaign.


                                        5. PENDING MOTIONS

             Defendants’ Objection to the Proposed Expert Testimony of Atiba Ellis, which was

 filed on December 16, 2022 (Doc. 71). Plaintiffs’ Response to Defendants’ Objection to

 the Proposed Expert Testimony of Professor Atiba Ellis was filed on January 6, 2023

 (Doc. 75). Defendants’ Reply to Plaintiffs’ Response to Defendants’ Objection to the

 Proposed Testimony of Professor Atiba Ellis was filed on January 20, 2023 (Doc. 78).


                                             6. WITNESSES

 a.          List the nonexpert witnesses to be called by each party. List separately:

             Plaintiffs

             (1)    witnesses who will be present at trial (see Fed. R. Civ. P. 26(a)(3)(A));

                    •     Rosemary Lytle has knowledge of the facts alleged in Plaintiffs’

                          Complaint, and the basis of the claims and damages related to

                          Defendants’ alleged conduct. Ms. Lytle may be contacted through

                          Plaintiffs’ undersigned counsel.

                    •     Portia Prescott has knowledge of the facts alleged in Plaintiff’s

                          Complaint, and the basis of the claims and damages related to

                          Defendants’ alleged conduct. Ms. Prescott may be contacted through

                          Plaintiffs’ undersigned counsel.

                    •     Salvador Hernandez has knowledge of the facts alleged in Plaintiffs’

                          Complaint, and the basis of the claims and damages related to

                          Defendants’ alleged conduct. Mr. Hernandez may be contacted through
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                 Plaintiffs’ undersigned counsel.

             •   Beth Hendrix has knowledge of the facts alleged in Plaintiffs’ Complaint,

                 and the basis of the claims and damages related to Defendants’ alleged

                 conduct. Ms. Hendrix may be contacted through Plaintiffs’ undersigned

                 counsel.

             •   Colorado Secretary of State Jena Griswold, and/or another

                 designated representative of the Office of the Colorado Secretary of

                 State, has knowledge of the facts alleged in Plaintiffs’ Complaint,

                 including knowledge regarding Colorado voters who were contacted by

                 Defendants’ and/or intimidated by Defendants’ conduct. Secretary of

                 State Griswold also has knowledge of threats made again her by

                 Defendant Shawn Smith.

             •   Gilbert “Bo” Ortiz, Pueblo County Clerk and Recorder, 215 W. 10th St.,

                 Pueblo, CO, (719) 583-6507, has knowledge of the facts alleged in

                 Plaintiffs’ Complaint, including but not limited to knowledge regarding

                 Colorado voters who were contacted by Defendants and/or intimidated

                 by Defendants’ conduct.

             •   Yvette Roberts, a Colorado voter, (970) 434-3012, was contacted by

                 USEIP as part of its door-to-door campaign and is expected to testify

                 consistent with the Declaration of Yvette Roberts filed with this Court on

                 December 23, 2022.

             •   Shawn Smith has knowledge of the facts alleged in Plaintiffs’ Complaint,

                 including but not limited to his efforts as a founding member of USEIP
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                  and his public statements concerning voter fraud. Shawn Smith may be

                  contacted through Defendants’ undersigned counsel.

              •   Ashley Epp has knowledge of the facts alleged in Plaintiffs’ Complaint,

                  including but not limited to her efforts as a founding member of USEIP.

                  Ashley Epp may be contacted through Defendants’ undersigned counsel.

              •   Holly Kasun has knowledge of the facts alleged in Plaintiffs’ Complaint,

                  including but not limited to her efforts as a founding member of USEIP.

                  Holly Kasun may be contacted through Defendants’ undersigned

                  counsel.

              •   Jeff Young has knowledge of the facts alleged in Plaintiffs’ Complaint,

                  including but not limited to his efforts as a founding member of USEIP.

                  Jeff Young may be contacted through Defendants’ undersigned counsel.

        Defendants

              •   Holly Kasun, who can be contacted through Defendants’ undersigned

                  counsel, is a Defendant in this matter. She is expected to testify about

                  her involvement in the USEIP voter canvassing efforts and the training

                  materials used by canvassing volunteers. Specifically, Ms. Kasun is

                  expected to testify that she did not participate in the door-to-door

                  canvassing efforts of USEIP. She is also expected to testify that groups

                  of volunteers were locally governed, and therefore, she did not have any

                  control over their actions.

              •   Shawn Smith, who can be contacted through Defendants’ undersigned

                  counsel is a Defendant in this matter. He is expected to testify about his
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                 involvement in the voter canvassing efforts, his interactions with Colorado

                 voters during canvassing efforts, and the materials used by canvassing

                 volunteers. Specifically, Mr. Smith is expected to testify that during his

                 limited   door-to-door   canvassing     involvement,     he   experienced

                 overwhelmingly positive interactions with Colorado voters.

             •   Ashley Epp, who can be contacted through Defendants’ undersigned

                 counsel is a Defendant in this matter. He is expected to testify about her

                 involvement in the voter canvassing efforts, her interactions with

                 Colorado voters during canvassing efforts, and the materials used by

                 canvassing volunteers. Specifically, Ms. Epp is expected to testify that

                 during her limited door-to-door canvassing involvement, she experienced

                 overwhelmingly positive interactions with Colorado voters. She is also

                 expected to testify that groups of canvassing volunteers were locally

                 governed, and therefore, she had no control over their actions. Finally,

                 she is also expected to testify that the USEIP training materials and the

                 USEIP playbook were designed specifically to avoid any voter

                 intimidation, threat, or coercion and sought to support only positive

                 interactions with Colorado voters.

             •   Portia Prescott who was disclosed by Plaintiff as a representative of

                 Plaintiff organization, NAACP Colorado. Ms. Prescott’s testimony is

                 expected to reveal that NAACP Colorado has no knowledge or

                 information about the facts claimed by Plaintiffs in their Complaint. Her

                 testimony is also expected to reveal that NAACP Colorado has no
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                       evidence that a Colorado voter has been intimidated, threatened, or

                       coerced by Defendants.

                   •   Salvador Hernandez who was disclosed by Plaintiffs as a representative

                       of Plaintiff organization, Mi Familia Vota. Mr. Hernandez’s testimony is

                       expected to reveal that Mi Familia Vota has no knowledge or information

                       about the facts claimed by Plaintiffs in their Complaint. His testimony is

                       also expected to reveal that Mi Familia Vota has no evidence that a

                       Colorado voter has been intimidated, threatened, or coerced by

                       Defendants.

                   •   Beth Hendrix who was disclosed by Plaintiffs as a representative of

                       Plaintiff organization, League of Women Voters of Colorado. Ms.

                       Hendrix’s testimony is expected to reveal that LWVCO has no evidence

                       that a Colorado voter has been intimidated, threatened, or coerced by

                       Defendants.

                   •   Colorado Secretary of State Jena Griswold, has knowledge of the

                       facts alleged in Plaintiffs’ complaint, including knowledge regarding

                       whether any investigations were conducted or referred regarding any

                       alleged complaints submitted to her office by Colorado voters. Secretary

                       of State Griswold also has knowledge of the alleged public statements

                       made by Defendant Shawn Smith.


             (2)   witnesses who may be present at trial if the need arises (see Fed. R. Civ.
                   P. 26(a)(3)(A)); and

                   Defendants:
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                          •   Jeffrey Young may be called if the need arises and whose phone

                              number and address have been previously disclosed. Mr. Young

                              may be called to testify about the canvassing efforts and the ability

                              to determine if any of the witnesses called by Plaintiffs were

                              canvassed by Defendants.



             (3)   witnesses where testimony is expected to be presented by means of a
                   deposition and, if not taken steno graphically, a transcript of the pertinent
                   portions of the deposition testimony. See Fed. R. Civ. P. 26(a)(3)(B).


                   None.

 b.          List the expert witnesses to be called by each party. List separately:

             Plaintiffs

             (1)    witnesses who will be present at trial (see Fed. R. Civ. P. 26(a)(3)(A));

                          •   Atiba Ellis, Professor of Law, Case Western Reserve University,

                              11075 East Blvd., Cleveland, OH 44106, (216) 368-2510.

                              Professor Ellis to offer an analysis and opinion regarding the

                              activities of United States Election Integrity Plan and its founders

                              and members, Defendants Shawn Smith, Ashley Epp, and Holly

                              Kasun, and the effect of their activities on voters, particularly

                              voters of color. Professor Ellis is expected to testify in person.


             (2)    witnesses who may be present at trial (see Fed. R. Civ. P. 26(a)(3)(A));

             And

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                   None.

             (3)   witnesses where testimony is expected to be presented by means of a
                   deposition and, if not taken steno graphically, a transcript of the pertinent
                   portions of the deposition testimony. See Fed. R. Civ. P. 26(a)(3)(B).

                   None.



             Defendants

                   None.


    c.              A final witness list must be provided to the opposing party and the Court no

later than 30 days before trial.


                                             7. EXHIBITS

    a. Exhibits to be offered by each party at trial in this action:

             (1)    Plaintiff(s):

                        •   United States Election Integrity Plan, County & Local Organizing
                            Playbook (August 2021) (Dep. Ex. 2)

                        •   Email correspondence between Beth Hendrix and Amanda Carlson
                            (USEIP0013-17)

                        •   Voter Verification Volunteer Training Guide, Version 1 (USEIP0033-
                            004)

                        •   Voter Verification Volunteer Training (USEIP0045-56) (Dep. Ex. 4)

                        •   Email from Shawn Smith With Draft Voter Verification Procedures
                            (USEIP0057)

                        •   USEIP Volunteer Agreement (USEIP0058)

                        •   USEIP Colorado Canvassing Report dated March 11, 2022
                            (USEIP0073-94)
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               •   United States Election Integrity Plan, Hitchhiker’s Guide to Election
                   Fraud Analytics: Guidelines and Learnings from Colorado (Dep. Ex.
                   11)

               •   Good Luck on Your Fishing Expedition (Dep. Ex. 7)

               •   Video of Shawn Smith “I think if you’re involved in election fraud, then
                   you      deserve      to    hang      .    .    .”,     available     at
                   https://twitter.com/jenagriswold/status/1491991594018304001?lang
                   =en

               •   Ashe in America, are the tides turning on tyranny in Colorado?
                   (USEIP0166-175)

               •   Ashe in America, a crusade against truth and those who speak it
                   (USEIP0096-0101)

               •   Ashe in America, denver, despotism, and the death of self
                   governance (USEIP0102-0116)

               •   Ashe in America, fraud PROVEN in colorado, cabal freaks out,
                   legislators respond (USEIP0117-0130)

               •   Ashe in America, new evidence in colorado catches embattled
                   secretary of state off guard (USEIP0176-185)

               •   Ashe in America, the interstate conspiracy (fact) to defraud the
                   American people (USEIP0131-0146)

               •   Ashe in America, the ultimate gaslight (USEIP0147-0165)

               •   Ashe in America, the ultimate gaslight 2 (USEIP0186-0228)

               •   Ashe in America, we are all terrorists now (USEIP0300-0308)

               •   Bombshell Report Proves State and Federal Election Crimes Were
                   Committed (USEIP0229-0237)

               •   USEIP, U.S. Election Integrity Project Power Point (USEIP0238-
                   0296)


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               •   The Colorado Election Integrity Project: Statement on the 2020
                   Election (USEIP0297)

               •   The Colorado Election Integrity Project: Response to Ken Buck’s
                   Livestream on December 2, 2020 (USEIP0298)

               •   Documents Produced by Jeff Young, including the following (no
                   Bates Nos. provided):

                      o All Basecamp Posts

                      o General Voter Detail Lists (Cong. Dist. 1)

                      o General Voting History Lists (Cong. Dist. 1)

                      o General Voter Detail Lists (Cong. Dist. 2)

                      o General Voting History Lists (Cong. Dist. 2)

                      o General Voter Detail Lists (Cong. Dist. 3)

                      o General Voting History Lists (Cong. Dist. 3)

                      o General Voter Detail Lists (Cong. Dist. 4)

                      o General Voting History Lists (Cong. Dist. 4)

                      o General Voter Detail Lists (Cong. Dist. 5)

                      o General Voting History Lists (Cong. Dist. 5)

                      o General Voter Detail Lists (Cong. Dist. 6)

                      o General Voting History Lists (Cong. Dist. 6)

                      o General Voter Detail Lists (Cong. Dist. 7)

                      o General Voting History Lists (Cong. Dist. 7)

                      o General Voters with Returned Ballots List

                      o Rejected and Cure Lists 2020 Primary

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                     o Rejected and Cure Lists 2020 General

                     o Ballots Counted 2020 with Voter History

                     o Registered Voters Lists

                     o Final Walklist Assumptions

                     o Walks Assumptions

                     o Walks at Home Assumptions

                     o Walk No Answer Assumptions

                     o Walk Visited Assumptions

                     o Moved Voters Mailed Ballot Cross Check 2020

                     o All Walklists produced by Jeff Young

                     o Precinct 5111821168 Batch 1268-1289 Walklist (Dep. Ex. 10)

                     o All Voter Opportunity Score Documents Produced by Jeff
                       Young

                     o Douglas County Precincts and Voter Opportunity Scores
                       (Dep. Ex. 12)

                     o Canvassing Script

                     o VV Script

                     o Volunteer Questions to Ask Revised

                     o Confirmed Residences

                     o VV Walk Training PDF

                     o VV Walk Training Power Point

                     o VV Captains Training
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                     o USEIP County Captains Guide

                     o VV Volunteer Guide

                     o Voter Verification Training Potential Takeaway Document

                     o Resident Occupant Affidavit Form

                     o Comms Training

                     o Key for Walk Lists

                     o Tips and Tricks

                     o Walklist Tracker Template

                     o All Volunteer Affidavit Forms

                     o VV Phone Script

                     o Voter Verification County Plan

                     o Affidavit List

                     o Affidavit Indexes from Douglas, El Paso, Pueblo, and Weld
                       Counties

                     o Affidavit Curing and Indexing Processes

                     o Cure Affidavit Tracker

                     o Election Summaries Douglas County, Pueblo County, El Paso
                       County, Weld County

                     o Election Analytics Guide

                     o How to Determine the Correct Sample Size

                     o Logistic Regression: An Overview

                     o Power Transform – Wikipedia
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                      o Sampling Error – Wikipedia

                      o Standard Deviation – Wikipedia

                      o Statistical Sampling Case Law – Relevant Precedent

                      o Weibull distribution - Wikipedia.pdf

                      o All other documents produced by Jeff Young

               •   Records from the Colorado Secretary of State’s Office related to
                   Unofficial Door-to-Door Canvassing Efforts (COSOS0000001)

               •   Records from the Adams County Clerk and Recorder’s Office
                   (Adams0000001-120)

               •   Records from the Douglas County Clerk and Recorder’s Office
                   (Douglas0000001-576)

               •   Records from the El Paso County Clerk and Recorder’s Office
                   (ElPaso0000001)

               •   Defendant USEIP’s Answers to Requests for Admissions

               •   Defendant USEIP’s Answers to Plaintiffs’ First Set of Interrogatories

               •   Defendant Ashley Epp’s Answers to Interrogatories

               •   Defendant Holly Kasun’s Answers to Interrogatories

               •   Shawn Smith’s Answers to Interrogatories

               •   Colorado Public Radio Story Concerning USEIP Canvassing Efforts
                   (PLTF0000001)

               •   KOA, Holly Kasun Recent Colorado Voter Canvass (Mar. 16, 2022)
                   (PLTF0000002)

               •   Eric Maulbetsch, CO GOP Selects Member of QAnon-Linked
                   Conspiracy Group That Organized Jan 6 Caravan As Its ‘Election
                   Integrity’ Chair (Aug. 11, 2021) (PLTF0000003-15)
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               •   Video, Colorado Election Conspiracist Three Percenter Leads
                   USEIP’s Door-to-Door Voter Verification Efforts (PLTF0000016)

               •   Miles Parks, The election denial movement is now going door to door
                   (July 21, 2022) (PLTF0000017-35)

               •   Video, Colorado Election Fraud Conspiracy Group Still Knocking on
                   Voters’ Doors (PLTF0000036)

               •   Erik Maulbetsch, Colorado Election Fraud Group Is Training
                   Conspiracists in Other States to Knock Doors in Search of ‘Phantom
                   Ballots’ (PLTF0000037-48)

               •   Jan Wondra, Election Conspiracy Fraud Group is Expanding States
                   in Door-to-Door Effort (PLTF0000049-52)

               •   Peter Stone, Group’s perpetuating Trump’s 2020 election lie face
                   scrutiny and lawsuits (PLTF0000054-57)

               •   Election Integrity Plan, Colorado Secretary of State Jen Griswold
                   Sued Over Destruction of Election Records, Failure to Properly Test
                   Voting Equipment, and Obstruction of Independent Election Audits
                   (Nov. 19, 2021) (PLTF0000058-59)

               •   Lindell TV, Holly Kasun MAGA Securing Colorado’s Elections Has
                   Gained the Attention of MSM (PLTF0000060)

               •   Real America’s Voice, Holly Kasun on the Bombshell New Report
                   About Voting Machine Vulnerabilities (PLTF0000061-62)

               •   Liz Dye, Mike Lindell Group Protects Election By Sending Armed
                   Volunteers Out to Harass Minority Voters in Their Homes
                   (PLTF0000064-66)

               •   Mike Lindell says God endorses his pursuit of election-fraud claims
                   (April 29, 2022) (PLTF0000067-80)

               •   NPR, They Don’t Trust Election Officials, So They’re Doing Their
                   Own Door-to-Door Audit (July 14, 2022) (PLTF0000081-98)

               •   Screenshot, “anyone who carries protection might want to let us know
                   so we can offer your cell phone numbers to those who are concerned”
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                            (PLTF0000099)

                        •   League of Women Voters of Colorado Email Re: Election Questions
                            (LWVCO0000002-3)

                        •   Email from Karen Sheek to Beth Hendrix Re: Edited Draft
                            (LWVCO0000009)

                        •   Email correspondence between Beth Hendrix and Ann-Marie
                            Fleming (LWVCO0000032-35)

                        •   Email correspondence from Debra McKee (LWVCO0000036-39)

                        •   Email correspondence between Ruth Nerenberg, Karen Sheek, and
                            Beth Hedrix Re: County Clerk (LWVCO0000041)

                        •   Email correspondence from Jennifer Fillipowski (LWVCO0000046-
                            47)

                        •   Email from Eric Maulbetsch to Beth Hendrix (LWVCO0000070)

                        •   September Issue if the Voter: The Voice of LWVCO (Sep. 2021)
                            (LWVCO00000720-85)

                        •   League of Women Voters of Colorado, Colorado’s Innovative and
                            Stellar Election System (May 2022) (LWVCO0000086-109)

                        •   League of Women Voters of Colorado, Safety Plan 2022 for Board &
                            Staff (LWVCO0000112)

             (2)   Defendant(s)

                   •   Affidavit of Beth Hendrix (Docket No. 8)

                   •   Affidavit of Portia Prescott (Docket No. 9)

                   •   Affidavit of Salvador Hernandez (Docket No. 10)

                   •   LWVCO Answers to Written Discovery (October 21, 2022)

                   •   NAACP Answers to Written Discovery (October 21, 2022)

                   •   MFV Answers to Written Discovery (October 20 & 21, 2022)
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             •   Email exchange between Matthew Menza and Beth Hendrix (September

                 14, 2021) (LWVCO 0000013)

             •   Email exchange between Jerry Kelley and Beth Hendrix (September 12,

                 2021) (LWVCO 0000029-30)

             •   Email exchange between Andy Sullivan and Beth Hendrix (October 17,

                 2021) (LWVCO 0000031)

             •   Email exchange between Ruth Nerenberg and Beth Hendrix (April 20,

                 2022) (LWVCO 0000041)

             •   Email exchange between Amanda Carlson and Beth Hendrix

                 (September 9, 2021) (LWVCO 0000043)

             •   Email exchange between Joani Walton and Beth Hendrix (September 7,

                 2021) (LWVCO 0000050-51)

             •   Voter Verification training PowerPoint (USEIP 0033-44)

             •   Voter Verification training PowerPoint (USEIP 0045-56)

             •   USEIP Volunteer Agreement (USEIP 0058)

             •   Document produced by Jeffrey Young (final_walklist_assumptions)

             •   Document produced by Jeffrey Young (Registered_Voters_List_Part 1-9)

             •   Email Yvette Roberts to Colorado Secretary of State (CSOS 0000006-7)

             •   Deposition transcript of Beth Hendrix

             •   Deposition transcript of Portia Prescott

             •   Deposition transcript of Salvador Hernandez

             •   Deposition transcript of Jeffrey Young


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                   •   Deposition transcript of Holly Kasun

                   •   Deposition transcript of Shawn Smith

                   •   Deposition transcript of Ashley Epp

                   •   Deposition transcript of USEIP pursuant to Fed.R.Civ.P. 30(b)(6)

                   •   Video of Shawn Smith’s statement available at:

                       https://twitter.com/jenagriswold/status/1491991594018304001?lang=en

                   •   Email from former Secretary of State Wayne Williams regarding USEIP

                       canvassing efforts (USEIP 0063-0067)

                   •   USEIP canvassing report and press release (USEIP 0073-0094)

             (3)    Other parties:


    b.       A final exhibit list and copies of listed exhibits must be provided to opposing counsel

and any pro se party no later than 30 days before trial. The objections contemplated by

Fed. R. Civ. P. 26(a)(3) shall be filed with the clerk and served by hand delivery or facsimile

no later than 14 days after the exhibits are provided.


                                            8. DISCOVERY

         Discovery has been completed.


                                         9. SPECIAL ISSUES
         Plaintiff:

         None.

         Defendants

         Defendants object to Plaintiffs’ witnesses who were not timely disclosed pursuant

to Fed. R. Civ. P. 26(e). Defendants object to the following witnesses:
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        Rosemary Lytle: initially disclosed on December 2, 2022. Pursuant to the Court’s

Amended Scheduling Order [Docket No. 61], the discovery cutoff date was December 2,

2022.

        Yvette Roberts: initially disclosed on November 10, 2022. While this disclosure

was prior to the discovery cutoff date, the disclosure occurred after the deadline for

interrogatories, requests for production, requests for admission, and expert disclosures.

Likewise, the affidavit forming the basis of her testimony above was disclosed several

weeks after the close of discovery in response to Defendants’ Motion for Summary

Judgment [Docket No. 72, 73].



                                          10. SETTLEMENT

             Counsel for the parties met by telephone on May 2, 2023 to discuss in good faith

the settlement of the case. The parties were promptly informed of all offers of settlement.

Counsel for the parties intend to engage in ongoing settlement discussions. It appears from

the discussion by all counsel that there is some possibility of settlement. Counsel for the

parties considered ADR in accordance with D. Colo. L. Civ. R. 16.6.


                                    11. OFFER OF JUDGMENT

             Counsel and any pro se party acknowledge familiarity with the provision of Rule

 68 (Offer of Judgment) of the Federal Rules of Civil Procedure. Counsel have

 discussed it with the clients against whom claims are made in this case.


                            12. EFFECT OF FINAL PRETRIAL ORDER

             Hereafter, this Final Pretrial Order will control the subsequent course of this action
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 and the trial, and may not be amended except by consent of the parties and approval by

 the court or by order of the court to prevent manifest injustice. The pleadings will be

 deemed merged herein. This Final Pretrial Order supersedes the Scheduling Order. In

 the event of ambiguity in any provision of this Final Pretrial Order, reference may be made

 to the record of the pretrial conference to the extent reported by stenographic notes and

 to the pleadings.

                        13. TRIAL AND ESTIMATED TRIAL TIME;
                     FURTHER TRIAL PREPARATION PROCEEDINGS

        This action shall be tried by the Court before the Honorable Charlotte N. Sweeney

at the Alfred A. Arraj Courthouse, 901 19th Street, Denver, Colorado 80294. The estimated

length of trial is 4 days.




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 DATED this             day of                     , 20           .


                                         BY THE COURT




                                         United States Magistrate Judge


 APPROVED:

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                                     ATTORNEYS FOR Plaintiffs Colorado
                                     Montana Wyoming State Area
                                     Conference of the NAACP, League of
                                     Women Voters of Colorado, and
                                     Mi Familia Vota




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